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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

A. ELIZABETH KRAFT,                              :
                                                 :
                              Plaintiff,         :          CIVIL ACTION NO. 21-5430
                                                 :
       v.                                        :
                                                 :
CITY OF READING and MAYOR EDDIE                  :
MORAN, in his individual capacity only,          :
                                                 :
                              Defendants.        :

                                            ORDER

       AND NOW, this 30th day of August, 2022, after considering the defendants’ motion to

compel the plaintiff to submit to an independent medical examination (Doc. No. 36) and the

plaintiff’s response in opposition thereto (Doc. No. 39); and the court having heard oral argument

on the motion on August 30, 2022; accordingly, it is hereby ORDERED that the defendants’

motion to compel (Doc. No. 36) is DENIED for the reasons stated on the record following oral

argument.


                                                     BY THE COURT:



                                                     /s/ Edward G. Smith
                                                     EDWARD G. SMITH, J.
